B\VOT7G_ Pde \Lnp Pl PH2)STLT-To-PH2.dea, SL-10, GF16/2006 Li 42 AM, CuePDF Wirker

41 Pagelofl

53:

Doc 1234-28 Entered 08/13/10 14

Case 09-14814-qwz

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BASIS OF BEARINGS

HORTH OouJ'ae" EAST — THE WEST LIE GF THE NORTHWEST QUARTER

Te STSTEM OF 1883 (A2B3-WF}, WEST ZGHE,
DT IFT), UTILIZING FAST STATIC OBSERVATIONS
PROCESSED BY NGS-CPUS,

MCSD, "SD 32" = LATITUDE 35°00"22.70034",
LONGITUDE 11408'21.57240"W (MAD ‘Ba)

HEIGHT 2582.46301Ht | (NAVD'BE)

LATITUDE 35°08'55.33985
LONGITUDE 11410'30. 72201"W (VAD “83)
HEIGHT 24g8.2045nift (HAWS)

STONE 1/4 GOR 3/2 =

792

BENCHMARK

BENCHHARK g "SD 347 MCSO.
ELEVATION 2590.24273 IFT (HAND '6B)

DESCRIPTION: ALUM GAP 2° DIA, SET IN CONC 8S FT. NORTHEAST OF
THE SOUTH 1/4 CORNER OF SEC. 35, 7. 21 N.. RAB W. AMD THE
INTERSECTION OF SHINARUMP OR, AIO HOPE RD. STAMPED “SD 34 1999
RLS 1D343"

FOR CONTINUATION SEE SHEET alti

NORTH

GRAPHIC SCALE

NEW STHEETLAGHT SERVICE PEDESTAL CIRCUIT "A"

STREETLUGHT CIRCUIT "AT CAPACITY VERIICATION

LOCATION: ENTRANCE AT LOOP ROAD

SERVCE PEDESTAL CAPACITY = 135 AMPS.

CIRCUIT BREAKER = 60 AMPS:

MAXIMUM ALLOWAGLE DRAW (0.80) 4 G0 AMPS - BAP

EMSTING CIRCUIT LOAD - a7 NPS
PROPOSED LUMINAIRE LOAD 70 CIRCUIT

7 EA — 100 WATT @ 1.0 AMPS EACH - 7.0 AMPS

TOTAL PROPOSED LOAD = 20 AMPS.

EXISTING PLUS PROPOSED LOAD = 440 AMPS.

REMAINING AVAILABLE LOAD = 0 AMPS:

LOGATION: ENTRANCE AT LOGP ROAD

SERVICE PEDESTAL GAPACITY = 196 AMPS:

CIRGUIT BREAKER - 80 AMPS:

MAXIMUM ALLOWABLE DRAW (0.20) ¢ 60 AMPS - 48 AMPS

EXISTING CIRCUIT LOAD - a AMPS,
PROPOSED LUMINAIRE LOAD TO CIRCUIT

= 24.0 HPS.

= 240 AMPS.

= 45.0 AMPS:

= 30 AMPS.

NEW STREETLUIGHT SERVICE PEDESTAL CIRCUT "5"
STREET UGHT CIRCUT "ST CAPACITY VERIRGATION

LOCATION: SWC OF G STREET AT K STREET

SERMCE PEDESTAL CAPACITY = 125 AMPS.

CIRGUIT BREAKER - 60 AMPS.

MAXIMUM ALLOWAGLE GRAW (0.80) 4 60 AMPS = 6 AMPS.

EXISTING CIRCUIT LOAD - 30 AMPS.
PROPOSED LUMINAIRE LOAD TO CIRCUIT

18 EA — 100 WATT @ 1.0 AMPS EACH = 16.0 AMPS

OPOSED LOAD = 18.0 AMPS:

PLUS PROPGSED LOAD = 450 AMPS:

IG AVAILABLE LOAD - RO AMPS:

LOCATION: SW OF G STREET AT K STREET

SERVICE PEDESTAL CAPACITY = 185 AMPS

CIRCUIT BREAKER = 5D AMPS

MAXIMUM ALLOWASLE ORAW (GO) X 60 AMPS = 4B AMPS

EXISTING CIRCUIT LOAD = 15 AMPS
PROPOSED LUMINAIRE LOAD TO CIRCUIT

0 EA — 100 WATT @ 4.0 AMPS EACH = 00 AMPS

= 1.0 AWPS

= 15.0 AWPS

= 35.0 AWPS

NEW STREETUGHT SERVICE PEDESTAL CIRCUIT "cc"

LOCATION: NEG OF H STREET AT WEST LOG ROAD

SERVICE PEDESTAL CAPACITY = 125 AMFS

CIRCUIT BREAKER = 90 AMES

MAXIMUM ALLOWABLE DRAW (0.80) X 0 AMPS = 46 AMPS

EXISTING CIRCUIT LOAD = OAMES
PROPOSED LUMINAIRE LOAD Ta CIRCUIT

35 £4 — 100 WATT @ 1.0 AMPS EACH = 25.0 AMPS

TOTAL PROPOSED LOAD = 25.0 AHPS

EXISTING PLUS PROPOSED LOAD = 25.0 AHPS

REMAINING AVAILABLE LOAD = 13.0 AHPS

STREETUGHT GIRGUIT "G2" CAPACITY VERIFICATION

LOGATION! WEG OF H STREET AT WEST LOOP ROAD

SERVCE PEDESTAL CAPACITY = 125 AMPS.

CIRCUIT BREAKER = 80 AMPS:

MAXIMUM ALLOWAGLE DRAW (0.80) 4 G0 AMPS - 6 AMPS

EXISTING CIRCUIT LOAD = OAMPS
PROPOSED LUMINAIRE LOAD TO GIRGUIT

46 EA — 100 WATT @ 1.0 AMPS EACH = 46.0 AMPS

TOTAL PROPOSED LOAD = 48.0 AMPS

EXISTING PLUS PROPOSED LOAD = 46.0 AMPS

REHAINING AVAILABLE LOAD - 20 AMPS:

STTREETUGHT GIRCUT ‘DT CAPACITY VERIFICATION

LOCATION: SWO OF H STREET AT 7 STREET

SERMCE PEDESTAL CAPACITY - 125 AMPS.

CIREUIT BREAKER = 60 AMPS.

MAXIMUM ALLOWAGLE GRAW (0.80) 4 60 AMPS - 6 AMPS

EXISTING CIRCUIT LOAD - OAS
PROPOSED LUMINAIRE LOAD TO CIRCUIT

2B EA — 100 WATT @ 1.0 ANPS EACH = 28.0 AMPS

= 280 AMPS

- 280 AMPS:

= 20.0 AMPS:

PRELIMINARY ISSUE FOR REMEW
NOT FOR CONSTRUCTION 4-12-06

or

— 14/40 STREET UaHT conuIT

ca PROPOSER 100 W HPS LUMINAIRE
a NO, 3-1/2" PULL BOX
5 SERVGE PEDESTAL
2 PROPOSED STREET SIGHS
a PROPOSED STOP SIGN wy (2)
STREET NAME SGUS
UP OSED BARRICADE
RED
BLAGE
FIRE LANE SIGN (12"% 1B")
RED AND BLACK GH WHITE
LWHINOUS BACKGROUNE
BACK OF vs
SURBYP.L:
eo [as
=
ze
an NOTE:
ALL DIMENSIONS On
STREET UGHT THIS PLAN SHALL
ho! (wna) HA¥E PRIORY OVER
1 MENSIOS SHOWN
TOFACE OF POLE OH THE STANDARD
DETAIL.
HOTES

IM LOCATIDUS WHERE USHT POLE IS NOT
ADJACENT 1D A SIDEWALK, FACE OF POLE TD
BE 3’ FROM BACK OF CURE,

STREETLGHT LOCATION
MTs.

LUGHTING CONSTRUCTION NOTES

INSTALL 100% HPS LUMINAIRE PER DET. HO, S14 GM SHEET DTS
STREETUGHT CONDMIT AND MRE PEA DET, HO 521

g
@
@) INSTALL 125 AMP SERMCE PEDESTAL PER DET. HOS, 330 d 331 Dl
Q
@

SHEET O15
INSTALL MD. 31/2 PULL BDX PER DET. MG. 325 ON SHEET OTS
REMOVE CAP AND OGHMECT TO EXISTING STUB

TRAFFEK GONSTAUGTION NOTES

[INSTALL Wi-2 "NO QUTLET"
NSTALL “HO PARKING FIRE LANE Sich" PER DETAIL THIS SHEET

EM

4 W/ (2) 9° D9 STREET HAME SIGHS"

[BE] wsTau Two 9° 03 “STREET MAME: Sibu"

[EB] STALL RED ANG WHITE STRIPED BARRICADE PER MAG STANDARD
DETAIL HO. 180 AND LATEST MUTCO MANLAL

NOTES:

NDT ALL NOTES USED OH THIS SHEET.

ALL SIGHAGE SHALL BE PER THE LATEST MUTE MANUAL.

DESICLAIMER NOTE
UTIUTY LOCATIONS. SHOWN

Call
before you

Overhead
1-978-753-0691
rin

RESPOUSISILITY FOR UTILITIES

LOCATION.

= 10

SCALE (H) 1"
SCALE (W) MONE
DRAWN BY ¢D/RM
CHECKED BY SH/DB
DATE 4-12-06

(702) 368-3598 Fox (702) 368-9793

‘wave starleygroup.com

Stanley Consultants inc

5820 S. Eostern Aware, Suits 200
Los vegas, Nevado 69119

ARIZONA

AREA 1 - PHASE B
STREET LIGHT AND TRAFFIC CONTROL PLAN 10

MOHAVE COUNTY

GOLDEN VALLEY RANCH

RHODES HOMES ARIZONA, LLG

SHEET

SLi0

60 OF 105 SHEETS

SCI PROJECTS
18476

